Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 1 of 39 Page ID #:12



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 10   E-mail:    elizabeth.sperling@alston.com
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 11
      Attorneys for Defendant
 12   TOYOTA MOTOR NORTH AMERICA, INC.
 13
 14                         UNITED STATES DISTRICT COURT
 15                        CENTRAL DISTRICT OF CALIFORNIA
 16 HOVSEP HAGOPIAN, as an individual, on            Case No. 2:21-cv-02248
    behalf of himself, all others similarly
 17 situated and the general public,                 DECLARATION OF ELIZABETH
 18                                                  A. SPERLING IN SUPPORT OF
                 Plaintiff,                          NOTICE OF REMOVAL
 19
           v.
 20
    TOYOTA MOTOR NORTH AMERICA,
 21 INC., a California corporation; and DOES 1
    through 100, inclusive,
 22
                 Defendant.
 23
 24
 25
 26
 27
 28

                                                 1
                DECLARATION OF ELIZABETH A. SPERLING IN SUPPORT OF NOTICE OF REMOVAL
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 2 of 39 Page ID #:13




  1         I, Elizabeth A. Sperling, do hereby declare as follows:
  2         1.       I am an attorney duly licensed to practice law before all courts of the State
  3 of California and am a partner of the law firm of Alston & Bird LLP, attorneys of record
  4 herein for Defendant Toyota Motor North America, Inc. (“TMNA”). I make this
  5 declaration in support of TMNA’s Notice of Removal. I have personal knowledge of
  6 the facts set forth in this declaration and, if called as a witness, could and would testify
  7 competently to them.
  8         2.       Attached hereto as Exhibit A is a true and correct copy of Plaintiff’s
  9 Summons and Complaint – Hovsep Hagopian, an individual, on behalf of himself, all
 10 others similarly situated, and the general public, v. Toyota Motor North America, Inc.,
 11 Los Angeles County Superior Court Case No. 21STCV03559 filed on January 29, 2021.
 12         3.       Attached hereto as Exhibit B is a true and correct copy of the Service of
 13 Process Transmittal reflecting service of the Summons and Complaint on TMNA’s
 14 registered agent for service of process on February 11, 2021.
 15         I declare under penalty of perjury under the laws of the United States of America
 16 that the foregoing is true and correct.
 17         Executed on this 12th day of March, 2021 at Los Angeles, California.
 18
                                                        /s/ Elizabeth A. Sperling
 19                                                               Elizabeth A. Sperling
 20
 21
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                                                    2
                 DECLARATION OF ELIZABETH A. SPERLING IN SUPPORT OF NOTICE OF REMOVAL
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 3 of 39 Page ID #:14




                        Exhibit A




                                       3
  Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 4 of 39 Page ID #:15

                                                                                                                                                       SUM-100
                                          SUMMONS                                                                        FOR COURT USE ONLY
                                                                                                                      (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
                                                                                                                            FILED
                                                                                                                  Superior Court of California
(AVISO AL DEMANDADO):                                                                                               County of Los Angeles
TOYOTA MOTOR NORTH AMERICA, INC., a California Corporation;
and DOES 1 through 100, inclusive,                                                                                       JAN 29 2021
YOU ARE BEING SUED BY PLAINTIFF:                                                                            Sherri R. Carter, Executive Officer/Clerk o1Court
(LO ESTA DEMANDANDO E4,9WANDANTE):                                                                           By          S.   DREW                     Deputy

HOVSEP HAGOPIAN,an citevidiial, on behalf of himself, all others
similarly situated, and the general public
  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form If you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 lAVISOI Lo han demandado. Si no responde dentro de 30 dlas, la corte puede decidir en su contra sin escuchar su version. Lea la informaciOn a
 continuaci6n.
     Tiene 30 DIAS DE CALENDARIO despuas de que le entreguen este citaciOn y papeles legates para presenter una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefOnica no lo protegen. Su respuesta por escrito tiene que ester
 en formato legal correcto si desea que procesen su caso en la code. Es posible que haya un formulario que usted pueda user pare su respuesta.
 Puede encontrar estos formularios de la code y mss informaciOn en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
 biblioteca de !eyes de su condado o en la code que le quede mas coma. Si no puede pager la cuota de presentecion, pida al secretario de la corte
 que le de un formulario de exencion de pago de cuotas. Si no presents su respuesta a tiempo, puede perder el caso por incumplimiento y la code le
 padre guitar su sueldo, dinero y bienes sin mss advertencia,
    Hay otros requisitos legates. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede flamer a un setvicio de
 remision a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
 programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o ,00niandose en contacto con la code o el
 colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualqufer recuperaciOn de $10,000 6 mss de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
 pager e/ gravamen de la code antes de que la code pueda desechar el caso.

The name and address of the court is:                                                                     CASE NUMBER:
                        LOS ANGELES SUPERIOR COURT
(El nombre y direction de la code es):
CENTRAL DISTRICT - STANLEY MOSK COURTHOUSE                                                               (Numem'EsISTCV03559
111 NORTH HILL STREET, LOS ANGELES, CA 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcciOn y el nOmero de telefono del abogado del demandante, o del demandante q                          o tiene           do, es):
HOVANES MARGARIAN, 801 N. BRAND BLVD., SUITE 210, GLENDAL                                                           C    912               8) 553-1000

DATE:
(Fecha)
                      JAN 2 9 2021            Sheri R. Carter, Clerk            Clerk, by
                                                                                (Secretario)
                                                                                                                                                       , Deputy
                                                                                                                                                        (Adjunto)
(For proof of service of this summons, use Prcof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).                     STEVEN OREW
                                  NOTICE TO THE PERSON SERVED: You are served
                                 1. ni    as an individual defendant.
                                  2.      r--1
                                          as the person sued under the fictitious name of (specify):


                                     3.          on behalf of (specify):
                 x.
                                          under: 0        CCP 416.10 (corporation)                               CCP 416.60 (minor)
                                                  FT      CCP 416.20 (defunct corporation)        0              CCP 416.70 (conservatee)
                                                  17      CCP 416.40 (association or partnership) 1-           1 CCP 416.90 (authorized person)
                                                  1- 1   other (specify):
                                     4.   1- 7   by personal delivery on (date):
                                                                                                                                                          Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                                       SUMMONS                                                  Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                  www.courtinfo.ca.gov
  SUM-100 [Rev. July 1, 2009]
                                                                            4
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 5 of 39 Page ID #:16




     Hovanes Margarian, SBN 246359                                                   FILED
     hovanes@margarianlaw.com                                            Superior Court of California
                                                                           County of Los Angeles
     Armen Margarian, SBN 313775
 2
     armen@margarianlaw.com                                                       JAN 29 2021
 3   Shushanik Margarian, SBN 318617
                                                                                                                  of Court
     shushanik@margarianlaw.com                                      Sherri R. Carter, Executive OfiiceriC;lerk
 4   THE MARGARIAN LAW FIRM                                           By           S. DREW                        Deputy

     801 North Brand Boulevard, Suite 210
 5
     Glendale, CA 91203
 6
     Telephone: (818) 553-1000
     Facsimile:    (818) 553-1005
 7
     Attorneys for Plaintiff,
 8   HOVSEP HAGOPIAN
 9

10
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
11
                      FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
12

     HOVSEP HAGOPIAN, as an individual, on ) Case No.:                21STCV03559
     behalf of himself, all others similarly situated, ) (Class Action)
14   and the general public,                           )
                                                       ) CLASS ACTION COMPLAINT FOR
15                          Plaintiff,                 ) DAMAGES:
                                                       )
     vs.                                               ) 1 . Breach of Express Warranty
17                                                     )
                                                         2. Breach of Implied Warranty
     TOYOTA MOTOR NORTH AMERICA,                       )
18   INC., a California Corporation; and DOES 1 ) 3. Breach of Warranty (Song-Beverly Consumer
                                                       )     Warranty Act), Civil Code § 1790, et seq.;
     through 100, inclusive,                           1
19
                                                       ) 4. Breach of Warranty (Magnuson-Moss Warranty
20
                            Defendants.                )     Act), 15 U.S.C. § 2301 et seq.;
                                                       )
21
                                                         5. Violation of the California Unfair Competition
                                                       )     Act ("UCL"), Business and Professions Code §
22                                                     )     17200, et seq.
                                                       )
                                                       ) 6. Violation of the California False Advertisement
23
                                                             Law ("FAL"), Business and Professions Code §
24                                                           17500, et seq.
                                                    ) 7. Violation of the California Consumer Legal
25
                                                         Remedies Act ("CLRA") § 1750, et seq.
26                                                     8. Nuisance
27
                                                       DEMAND FOR JURY TRIAL
25



                                   CLASS ACTION COMPLAINT FOR DAMAGES
                                                   5
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 6 of 39 Page ID #:17




                                                  COMPLAINT

            NOW COMES Plaintiff, HOVSEP HAGOPIAN, as an individual, on behalf of himself, all others
 4   similarly situated, and the general public, by and through his attorneys, The Margarian Law Firm, with

     the Class Action Complaint for Damages against Defendants, TOYOTA MOTOR NORTH AMERICA,
 6   INC.. a California Corporation; and DOES 1 through 100, inclusive.
 7

                                                INTRODUCTION
 9         1. This is a civil action alleging breaches of express and implied warranties pursuant to the Song-
10   Beverly Consumer Warranty Act (Civil Code § 1790, et seq.) and the Magnuson-Moss Warranty Act (15
11   U.S.C. § 2301, et seq.), violation of the California Unfair Competition Act ("UCL") (Business and
12   Professions Code § 17200, et seq.) as well as False Advertisement (Business and Professions Code §
13   17500, et seq.), and violation of the California Consumer Legal Remedies Act ("CLRA") (Civil Code §
14   1750, et seq.) for Defendant TOYOTA MOTOR NORTH AMERICA's pattern and practice of
15   fraudulently, unfairly, deceptively, and unlawfully marketing, advertising, promoting, and leasing/selling
16   various vehicles with a defective brake system that generates an extremely loud squealing noise when
17   using the brakes.
18         2. Plaintiff brings this action on behalf of himself and all other similarly situated persons residing
19   in California and/or the United States who leased and/or purchased vehicles manufactured by Defendant,
20   TOYOTA MOTOR NORTH AMERICA, INC., a California Corporation ("Defendant" or "TOYOTA")
21   equipped with a defective brake system that generates an extremely loud squealing noise when using the
22   brakes, described in further detail within this Complaint.
23         3. As of early 2015, if not before, Defendants designed, manufactured, distributed, marketed.
24   sold, and leased vehicles equipped with factory-installed high-friction brakes which make an extremely
25   loud squealing noise ("Subject Brakes").
26         4. As of early 2015, if not before TOYOTA knew or should have known Subject Brakes are
27   defective because TOYOTA has internal procedures of testing their new vehicles and their equipment for
28

                                                    -2-
                                    CLASS ACTION COMPLAINT FOR DAMAGES
                                                     6
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 7 of 39 Page ID #:18




  1   extended periods of time, in various conditions, before mass production. and distribution of the vehicles.

  2   Additionally, the Lexus (a division of TOYOTA) website states that brake noise/squeal may result due

      to the inherent characteristic of the materials and the design of the brake pads.

            5. The noise generated by Subject Brakes is above and beyond expectations of an ordinary

      consumer.



                                                       PARTIES

  8         6. Plaintiff, HOVSEP HAGOPIAN ("Plaintiff' or "Hagopian"), is and was at all times relevant

  9   herein an individual residing in Los Angeles County, State of California. Plaintiff Hagopian leased and

10    during pertinent times was in possession of one of the Subject Vehicles, a 2019 Lexus LC bearing the

11    Vehicle Identification Number JTHHP5AYXKA00669 I ("Subject Vehicle"). The Subject Vehicle was

12    manufactured, sold, or otherwise delivered to Plaintiff Hagopian with the defective brake system at issue

13    in this case and as described herein.

14          7. Plaintiff appears in this action on behalf of himself, on behalf of all others similarly situated.

15    and pursuant to Business and Professions Code §§ 17200 et seq. and 17500 et seq., on behalf of the

16    general public in their capacity as a private attorney general.

17          8. Defendant, TOYOTA is a California Corporation licensed to do, and is doing business

18    throughout the United States, with its principal place of business located at 6565 Headquarters Drive,

19    Plano, TX 75024.

 o          9. TOYOTA transacts business in Los Angeles County, California. and at all relevant times

21    designed, manufactured, promoted, marketed, distributed, and/or leased/sold the Subject Vehicles that

      are the subject of this Complaint, throughout the United States including California. Defendant TOYOTA

      has significant contacts with Los Angeles County and the activities complained of herein occurred, in

2,1   whole or in part, in Los Angeles County.

25         10. Plaintiff is informed, believes, and based thereon alleges that Defendants DOES I through 100

26    are corporations or are other business entities or organizations of a nature unknown to Plaintiff.

27         11. Plaintiff is unaware of the true names of Defendants DOES 1 through 100. Plaintiff sues said
"IS
      defendants by said fictitious names and will amend this Complaint when the true names and capacities

                                                     -3-
                                     CLASS ACTION COMPLAINT FOR DAMAGES
                                                       7
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 8 of 39 Page ID #:19




     are ascertained or when such facts pertaining to liability are ascertained, or as permitted by law or by the

     Court. Plaintiff is informed and believes that each of the fictitiously named defendants is in some manner

     responsible for the events and allegations set forth in this Complaint.

 4        12. Plaintiff is informed, believes, and based thereon alleges that at all relevant times, each

     Defendant was a developer, designer, manufacturer, distributor, and lessor/seller of vehicles, was the

 6   principal, agent, partner, joint venturer, officer, director, controlling shareholder, subsidiary, affiliate.

     parent corporation, successor in interest, and/or predecessor in interest of some or all of the other

 8   Defendants, and was engaged with some or all of the other defendants in a joint enterprise for profit, and

     bore such other relationships to some or all of the other Defendants so as to be liable for their conduct

     with respect to the matters alleged in this complaint. Plaintiff is further informed, believes, and based

     thereon alleges that each Defendant acted pursuant to and within the scope of the relationships alleged

     above, and that at all relevant times, each Defendant knew or should have known about, authorized,

     ratified. adopted, approved, controlled, aided, and abetted the conduct of all other Defendants. As used

14   in this Complaint, "Defendants" means "Defendants and each of them," and refers to the Defendants

15   named in the particular cause of action in which the word appears and includes TOYOTA and DOES I

16   through 100.

17        13. At all times mentioned herein, each Defendant was the co-conspirator, agent, servant,

18   employee, and/or joint venturer of each of the other Defendants and was acting within the course and

19   scope of said conspiracy, agency, employment, and/or joint venture and with the permission and consent

20   of each of the other Defendants.

21        14. Plaintiff makes the allegations in this Complaint without any admission that, as to any

22   particular allegation, Plaintiff bears the burden of pleading, proving, or persuading, and Plaintiff reserves

23   all of Plaintiff's rights to plead in the alternative.

24

                                            JURISDICTION AND VENUE

26        15. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. § 1331
     as this action arises under a federal statute. This Court has supplemental jurisdiction over the state law

28   claims under 28 U.S.C. § 1367.

                                                       -4-
                                       CLASS ACTION COMPLAINT FOR DAMAGES
                                                        8
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 9 of 39 Page ID #:20




             16. Jurisdiction is also proper under the Class Action Fairness Act, 28 U.S.C. § 1332(d) because:

        ( I ) at least one Plaintiff is a citizen of a different state than Defendant; (2) the amount in controversy

        exceeds $5,000,000; and (3) there are at least 100 individuals in the putative class that Plaintiff seeks to

    4   represent through this action.

    5        17. This Court has personal jurisdiction over Defendant because Defendant regularly conducts

    6   business in California, is present and licensed to conduct business in California, and the events giving

        rise to this lawsuit occurred in California.

    8        18. Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendant transacts

    9   substantial business in this District, and a substantial part of the acts, conduct, and events alleged herein

I()     occurred within California, including the County of Los Angeles.

11

12                                             FACTUAL ALLEGATIONS

1            19. Plaintiff files this class action on behalf of himself, all others similarly situated and the general

14      public for damages and/or restitution, as appropriate, for the Class from Defendant TOYOTA MOTOR

15      NORTH AMERICA, INC. ("TOYOTA") for developing, designing, manufacturing, distributing, and

16      selling vehicles with a defective brake system. The models of vehicles with a defective brake system

17      include but are not limited to the following: 2016-2019 Lexus LC500; 2016-2019 Lexus RC F; 2016-

18      2019 Lexus GS F; 2013-2018 Toyota Corolla ("Subject Vehicle(s)" or "Class Vehicle(s)").

19           20. Beginning on or before 2015, TOYOTA manufactured, sold, and distributed certain models of

20      vehicles described above that contain a defective brake system that results in a loud squealing noise from

21      the brakes, directly affecting the use and enjoyment of the vehicle.

22           21. The Class Vehicles contain one or more design and/or manufacturing defects, including but

23      not limited to defects contained in the Class Vehicles' brakes that cause a loud squealing noise when the

24      brakes are applied.

25           22. Plaintiff is informed, believes, and based thereon alleges that TOYOTA acquired its

26      knowledge of the brake noise defect as of 2015, if not before, through sources not available to Class

27      Members, including but not limited to pre-release testing data, early consumer complaints about the brake

28      noise defect, testing conducted in response to those complaints, aggregate data from TOYOTA dealers,

                                                         -5-
                                         CLASS ACTION COMPLAINT FOR DAMAGES
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Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 10 of 39 Page ID #:21




  1   including dealer repair orders and high warranty reimbursement rates that can cost in the thousand dollars

 2    for each class vehicle, and from other internal sources.

 3         23. TOYOTA has a duty to disclose the brake noise defect and remedy the associated out-of-

 4    pocket repair costs to Class Vehicles owners for many reasons including the fact that the defect poses an

 5    unreasonable annoyance; because TOYOTA had and has exclusive knowledge or access to material facts

 6    about the Class Vehicles and the Subject Brakes that were and are not known or reasonably discoverable

 7    by Plaintiffs and Class Members; and because TOYOTA has actively concealed the brake noise defect

 8    from its customers.

 9         24. Hundreds, if not thousands, of purchasers and lessees of the Class Vehicles have experienced

10    the brake defect. Complaints posted on the Internet by consumers demonstrate that the defect is

11    widespread. The complaints also indicate TOYOTA's awareness of the defect:

12               •     "I have a 2018 LC500h and have noticed that the brake pedal is making a loud clicking

13                     noise when pressed. No affect on the performance of the brakes. But having had two

14                     Lexus cars in the past this is not something that ever happened before. Lexus dealer

15                     saying it is "normal" but clearly it's not. Any ideas?" (March 22, 2019)

16               •     "Anyone know who makes the brakes on the LC 500. Mine are pretty noisy. Brembo

17                     brakes are notorious for noise. I've read Porsche take on noisy brakes-basically live

 18                    with it!" (April 8, 2018)

 19              •     "Hi. I have an LC 500 and love it except the squeaky, squealing brakes. I brought into

20                     the Lexus dealership when I couldn't take it anymore. While it was not a recall, a

21                     bulletin went out to Lexus dealerships about the brakes on the LC 500 in April 2018.

                       My brake pads were replaced this past Friday/Saturday and I was able to drive it home

 23                    quietly (as far as the brakes go) just the way of $100,000 car should sound when

 24                    stopping or slowing down. This was a warranty repair and cost me nothing. I've been
                       told that high performance brakes make noise but I'm not on a racing circuit and rather

 26                    have them be quiet." (December 15, 2018)

                 •     "Grinding noise when braking and reversing in my 2018 Toyota Corolla car under 25

 28                    miles on odometer. Have gone to several dealerships and have been told that I air

                                                     -6-
                                     CLASS ACTION COMPLAINT FOR DAMAGES
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Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 11 of 39 Page ID #:22




                        braking too hard (seriously in a new car??) & window passenger side front makes noise

                        while going up and down they said they lubricated it but now its making more noise."

                        (September 13, 20 1 8)

  4               •     "Brakes on my 2016 Toyota Corolla began making grinding noise when applied in

                        during stop and go traffic. Was taken to dealership where I was told brakes are fine. As

  6                     soon as I left I began hearing noise again while applying brakes and called them back

  7                     but was told nothing could be done since no issue." (March 30, 2019)

  S         25. Apart from demonstrating how widespread the defect is, most of the online complaints
  9    demonstrate that ordinary consumers were not informed, nor they expect for their vehicles to produce a

 10    loud squealing noise when braking. The online complaints also demonstrate how the defect affects the

 11    use and enjoyment of the Class Vehicles and the annoyance that the defect causes to a reasonable person

 12    that purchased or leased a Class Vehicle.
            26. Plaintiff also complains about the amount of negative attention the noise from Subject Brakes

 14    attracts while driving in crowded streets within city limits. Additionally, the defect draws the attention of

 15    officers of law enforcement agencies, which associate brake squeal with high-speed driving and racing.

 16

 17                            CLASS DEFINITIONS AND CLASS ALLEGATIONS

 IS         27. This action has been brought and may properly be maintained as a class action pursuant to the

 19    provisions of California Code of Civil Procedure § 382 and Civil Code § 1781 and other applicable law

 20    on behalf of himself and a Class as defined as follows:

 21            (1) California Class: The Class that Plaintiff seeks to represent ("California Class") consists of
                   all persons and entities who purchased or leased, or will purchase or lease, a Subject Vehicle

23                 in California, on or after the date Defendant placed the Subject Vehicles into the stream of

 24                commerce (the Class specifically does not include any claims seeking damages for personal
 -15               injuries or property damage resulting from defects as alleged herein). Excluded from the

26                 Class are Defendants, any parent, subsidiary, affiliate, or controlled person of Defendants, as
                   well as the officers, directors, agents, servants, or employees of Defendants, and the

28                 immediate family member of any such person. Also excluded is any trial judge who may

                                                      -7-
                                      CLASS ACTION COMPLAINT FOR DAMAGES
                                                       11
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 12 of 39 Page ID #:23




                   preside over this case.

               (2) National Class: The Class that Plaintiff seeks to represent ("National Class") is defined to

                   include all persons and entities within the United States who purchased or leased, or will

                   purchase or lease, a Subject Vehicle, on or after Defendant placed the Subject Vehicles into

                   the stream of commerce (the Class specifically does not include any claims seeking damages

  6                for personal injuries or property damage resulting from defects as alleged herein). Excluded

                   from the National Class are Defendants, any parent, subsidiary, affiliate, or controlled person

  8                of Defendants, as well as the officers, directors, agents, servants, or employees of Defendants,
  9                and the immediate family member of any such person. Also excluded is any trial judge who

 10                may preside over this case.

 II         28. There is a well-defined community of interest in the litigation, and the proposed class is

 12    ascertainable:

 13                     Common Questions Predominate: Common questions of law and fact exist as to all class

 1-4                    members and predominate over any questions that effect only individual members of the

 15                     class, if there are any individual questions. The common questions of law and fact include.

 16                     but are not limited to:

 17                          a. Whether the Subject Vehicles were designed, manufactured, sold, and/or

 I3                              otherwise equipped with brake systems that were poor, weak, or inferior in

 19                              design and/or otherwise defective;

 20                          b. Whether Defendants knew of the defective nature of the brake systems on the

 21                              Subject Vehicles;

                             c. Whether Defendants violated California consumer protection statutes;

  3                          d. Whether Defendants breached its express warranties;

                             e. Whether Defendants breached its implied warranties;

 25                           f. Whether Defendants' brake systems on the Subject Vehicles contained an

 29                               inherent design and/or manufacturing defect;

 27                          g. Whether the defect in the brake systems on the Subject Vehicles caused and/or

                                 contributed to the loud squealing brake noise when used for their intended

                                                        -8-
                                        CLASS ACTION COMPLAINT FOR DAMAGES
                                                       12
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 13 of 39 Page ID #:24




  1                      purpose (driving);

 2                  h. Whether the advertisements and statements made by Defendants were and are

 3                       false and/or had and have had a tendency to deceive customers, by either failing

  4                      to disclose the existence of an inherent defect or misrepresenting that the Subject

  5                      Vehicles contained no defects;

  6                 i.   Whether Defendants failed to adequately warn and/or notify class members and

  7                      the general public regarding the defects of the brake systems on the Subject

  8                      Vehicles causing loud squealing noises due to their inherent design or defect as

  9                      described herein;

10                  j.   Whether Defendants have failed to notify all Subject Vehicle owners or lessees

 11                      of the defect here at issue and repair or correct (or offer to repair or correct) all

 12                      defective brake systems on the Subject Vehicles at no cost to the owners or

 13                      lessees of the Subject Vehicles;

14                  k. Whether Defendants are obligated to inform the Class of their right to obtain,

 I5                      free of charge, repair, and replacement of the defective components of the

 16                      defective brake system on the Subject Vehicles;

 17                 I.   Whether Defendants adequately informed Dealers of the remedies to the design

 18                      or defect as described herein;

 19                 m. Whether Defendants are required to provide the New Motor Vehicle Board with

20                       a copy of TOYOTA's Service Bulletin(s), if any, concerning the remedies to the

21                       design or defect as described herein (or the information contained in the

 22                      bulletin(s)) so that the public could have access to it;

 23                 n. The nature and extent of Defendants implied warranty of merchantability for the

24                       brake system;

25                  o. Whether TOYOTA's warranty to repair defects in the Subject Vehicles was part

 26                      of the basis of the bargain as between TOYOTA and members of the Class;

 27                 p. Whether the presence of the defective brake systems in the Subject Vehicles is

 28                      an unlawful, unfair, and/or "fraudulent" business act or practice within the

                                               -9-
                               CLASS ACTION COMPLAINT FOR DAMAGES
                                                13
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 14 of 39 Page ID #:25




                       meaning of the Business and Professions Code §§ 17200 et seq.;

                    q. Whether Defendants concealed from and/or failed to disclose to Plaintiff and the

                       Class the true defective nature of the brake systems;

  4                 r. Whether Defendants had a duty to Plaintiff and the Class to disclose the defective

                       nature of the brake systems;

  6                 s. Whether the facts concealed and/or otherwise not disclosed by Defendants to

                       Plaintiff and the Class are material facts;

  8                 t. Whether Defendants knew that the brake systems are defective, would result in

  9                    a loud squealing noise meaning that the Subject Vehicles were not suitable for

 10                    use as passenger vehicles and otherwise are not as warranted and represented by

 11                    Defendants;
                    u. Whether Defendants knew or reasonably should have known about these

 13                    inherent defect(s);

 14                 v. When Defendants learned of this inherent defect;

 15                 w. Whether Defendants continued to lease/sell the Subject Vehicles with the

                       defective brake systems as alleged herein despite its knowledge and/or reckless

 17                    or negligent disregard of this inherent defect;

 18                 x. Whether the Class Members are entitled to damages in terms of cost of

 19                    replacement (or repair) of the defective brake systems on the Subject Vehicles

20                     and any out-of-pocket expenses incurred in connection therewith, and if so, the

21                     nature and amount of such damages;

                    y. Whether Plaintiff and the Class are entitled to recover damages and the proper
                       measure of damages;

24                  z. Whether Plaintiff and the Class are entitled to equitable relief. including but not

 25                    limited to restitution;

 26                 aa. Whether Plaintiff and the Class are entitled to declaratory relief sought herein;

27                  bb. Whether Plaintiff and the Class are entitled to injunctive relief sought herein;

28                  cc. Whether Plaintiff the Class are entitled to punitive damages and, if so, the

                                                      -10-
                              CLASS ACTION COMPLAINT FOR DAMAGES
                                                 14
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 15 of 39 Page ID #:26




                         amount of such exemplary damages;

                      dd. Whether the defective brake systems caused the amount paid for the purchase or

                          lease of the Subject Vehicles to be less than the fair market value of those

  4                       vehicles; and

                     ee. Whether there is a difference between the fair market value of the Subject

  6                      Vehicles and the actual value of those vehicles given the presence of the

                         defective brake systems.

          (2)   Typicality: Plaintiff's claims are typical of the claims of the Class Members. Plaintiff and
                the Class Members sustained the same types of damages and losses.

 10       (3)   Numerosity and Ascertainability: The Class is so numerous, thousands of persons, that

 11             individual joinder of all Class members is impractical under the circumstances. The Class

 12             members can be ascertained by, among other things, lease/sales records, and by responses

 13             to methods of class notice permitted by law.

 1.4      (4)   Adequacy: Plaintiff is a member of the Class and will fairly and adequately protect the

 15             interests of the members of the Class. The interests of the Plaintiff are coincident with,

 16             and not antagonistic to, those other members of the Class. Plaintiff has retained attorneys

 17             who are experienced in Class action litigation. Plaintiff will fairly and adequately

 1$             represent and protect the interest of the Plaintiff Class. Plaintiff is an adequate

 19             representative of the Class, as he does not have interests that are adverse to the interests

 20             of the Plaintiff Class. Plaintiff is committed to the vigorous prosecution of this action and

 21             has retained counsel, who are competent and experienced in handling complex and class

                action litigation on behalf of consumers.

         (5)    Superiority and Substantial Benefit: The prosecution of separate actions by individual

 24             members of the Class would create a risk of: (1) Inconsistent or varying adjudications
 -15            concerning individual members of the Class which would establish incompatible

 26             standards of conduct for the party opposing the Class; and (2) Adjudication with respect

 27             to the individual members of the Class would substantially impair or impede the ability of
                other members of the Class who are not parties to the adjudications to protect their

                                                     -11-
                                CLASS ACTION COMPLAINT FOR DAMAGES
                                                15
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 16 of 39 Page ID #:27




                       interests. The class action method is appropriate for the fair and efficient prosecution of

                       this action. Individual litigation of the claims brought herein by each Class Member would

                       produce such a multiplicity of cases that the judicial system having jurisdiction of the

  4                    claims would remain congested for years. Class treatment, by contract provides

                       manageable judicial treatment calculated to bring a rapid conclusion to all litigation of all

  6                    claims arising out of the aforesaid conduct of Defendants. The certification of the Class

                       would allow litigation of claims that, in view of the expense of the litigation may be

  S                    sufficient in amount to support separate actions.
  9

 10                              FACTS COMMON TO ALL CAUSES OF ACTION

 11          29. TOYOTA develops, designs, manufactures, markets, advertises, distributes, and sells various

 12     models of vehicles, including the Subject Vehicles identified herein that were manufactured and/or

13      equipped with Subject Brakes.
             30. Plaintiff is informed, believes, and based thereon alleges the Subject Vehicles contain a brake

 15     system comprised of defective components resulting in the loud squealing noise.

 16          31. The particular brake system in the Subject Vehicles for the corresponding model years, are and

 17     always have been defective, which, among other things, causes the loud squealing noise, substantially

 18     affecting the use, value, and enjoyment of the Subject Vehicles. The model and years are:

                           • 2016-2019 Lexus LC500;

 20                        • 2016-2019 Lexus RC F;

21                         • 2016-2019 Lexus GS F; and

                           • 2013-2018 Toyota Corolla.

 23          32. As a part of TOYOTA's advertising campaign, through its controlled dealership network,

24      TOYOTA distributed to the class members numerous pamphlets, brochures, and specification sheets

25      which emphasized or focused on the quality and safety of the Subject Vehicles here at issue.
             33. The written materials distributed and disseminated by Defendants in their advertising

 2 -7   campaign(s) created express warranties as to the reliability, excellence, and safety of the Subject Vehicles

 28     at issue and that the components of such vehicles are free from inherent risk of failure, particularly with

                                                        -12-
                                        CLASS ACTION COMPLAINT FOR DAMAGES
                                                       16
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 17 of 39 Page ID #:28




      regard to use and safety. Such warranty was breached by the existence of the defect in the Subject

  2   Vehicles at issue and TOYOTA's failure to warn consumers of its existence.

  3        34. These advertisements, due to the national scope and extent of Defendants multi-media

  4   campaign, were uniformly made to all members of the Class. Class members' acts of leasing and/or

  5   purchasing the Subject Vehicles were consistent with basing such decisions upon such advertisements,

 6    and thus formed part of the basis for the transaction at issue.

  7        35. Plaintiff is informed, believes, and based thereon alleges that the loud squealing noise

  8   generated by the brake system on the Subject Vehicles is due, in part, to the defective brake components

  9   installed on the Subject Vehicles.

 10        36. At all relevant times, TOYOTA has been aware of the herein described defect in the brake

 II   system on the Subject Vehicles and has consciously disregarded the rights and safety of Plaintiff,

 12   members of the Class and the general public in that numerous complaints about the loud squealing noise

 13   and defective brake system in the Subject Vehicles have been lodged with TOYOTA. Despite said

14    knowledge, TOYOTA, however, has failed to notify owners and lessees of the Subject Vehicles of the

 15   defects associated with their continued operation as alleged herein.

 16        37. At all relevant times, TOYOTA has not fully disclosed to purchasers or lessees of the Subject

 17   Vehicles, information regarding the high incidence of the loud squealing noise generated by the brakes

 18   of the Subject Vehicles as detailed herein, nor has it disclosed the true facts that TOYOTA either knew

 19   or recklessly or negligently disregarded the existence and reasons for this inherent defect for years.

20         38. Plaintiff is further informed, believes, and based thereon alleges that in not correcting or

21    warning of this defect, TOYOTA has violated its own internal procedures, which require prompt

 22   investigation and thorough analysis of all potential defects and notification to vehicle owners and lessees

23    describing the defect, as well as instructions relating to the correction of the defect if a defect is

 24   determined to exist.

 25        39. Defendants' conduct, as fully described herein, is in violation of California Civil Code §

26    1795.90 et seq. (California's Secret Warranty Law) which was enacted to abolish "secret" warranties and

 27   practices as alleged herein. The term "secret warranty" is used herein to describe the practice by which

 28   an automaker, such as Defendant TOYOTA, establishes a policy to pay for the repair of that defect

                                                      -13-
                                      CLASS ACTION COMPLAINT FOR DAMAGES
                                                      17
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 18 of 39 Page ID #:29




 1    without making the defect or the policy known to the public at large. A secret warranty is usually created

 2    when the automaker, such as TOYOTA, realizes that a large number of its customers are experiencing a

 3    defect not otherwise covered by a factory warranty, and decides to offer warranty coverage to individual

 4    customers only if the customer complains about the problem first. The warranty is therefore considered

 5    "secret" because all owners are not notified of it. Instead, the automaker usually issues a service bulletin

 6    to its regional offices and/or dealers on how to deal with the defect. Because owners are kept in the dark

 7    about the cost-free repair, the automaker only has to reimburse those customers who complain loudly

 8    enough: the quiet consumer pays to fix the defect his or himself.

 9         40. Section 1795.92 of the California Secret Warranty Law imposes several duties on automakers.

10    including TOYOTA, each of which is designed to do away with secret warranties.

11         41. Specifically, the California Secret Warranty law requires automakers to notify all eligible

12    owners and lessees ("consumers") by first class mail, within 90 days of adoption, whenever they enact

13    "any program or policy that expands or extends the consumer's warranty beyond its stated limit or under

14    which [the] manufacturer offers to pay for all or any part of the cost of repairing, or to reimburse

15    consumers for all or any part of the cost of repairing, any condition that may substantially affect vehicle

 16   durability, reliability, or performance[.]"

17         42. The California Secret Warranty Law also requires automakers, including TOYOTA, to provide

18    the New Motor Vehicle Board with a copy of the notice described in the preceding paragraph, so the

 19   public can view, inspect, or copy that notice.

 20        43. Additionally, the California Secret Warranty Law requires automakers, including TOYOTA.

21    to advise their dealers, in writing, of the terms and conditions of any warranty extension, adjustment, or

22    reimbursement program.

 23        44. The California Secret Warranty Law also requires an automaker, such as TOYOTA, to

 24   "implement procedures to assure reimbursement of each consumer eligible under an adjustment program

25    who incurs expenses for repair of a condition subject to the program prior to acquiring knowledge of the

 26   program."

 27        45. Plaintiff is informed, believes, and based thereon alleges that TOYOTA has. when the

 28   customers have complained loudly enough, offered to pay for all or any part of the cost of defective brake

                                                      -14-
                                      CLASS ACTION COMPLAINT FOR DAMAGES
                                                       18
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 19 of 39 Page ID #:30




  ►   replacement or repair for the Subject Vehicles and therefore, TOYOTA is obligated to comply with the

      provisions of the California Secret Warranty Law, but has not done so. Moreover, by extending its new

      car warranty to cover brake system replacement or repair to some customers and not others, TOYOTA

  4   has expanded or extended the consumer's express warranty beyond its stated limit.

           46. Specifically, TOYOTA did not notify Plaintiff, or any other owner or lessee of a Subject

  6   Vehicle of their right to seek a free repair, replacement or retrofit of the brake system, or to be reimbursed

      for the cost of repairing the brake system in these vehicles.

  8        47. It was only after a Class Vehicle owner or lessor complained vehemently that TOYOTA made

 9    efforts to repair Subject Vehicle's brake system or replace it during each complaint thereof.

 10        48. TOYOTA, by and through its authorized dealerships, engaged in a nationwide conspiracy to

 11   cover up the Subject Vehicles' brake defect by systematically refusing to document visits by Plaintiff and

 12   other Class members with the subject complaint.

 13        49. By failing to document these visits and provide repair orders TOYOTA systematically

 14   deprived Plaintiff and other Class members of their lemon law rights by distorting the Subject Vehicles'
      repair histories.

 16        50. At all times relevant, Plaintiff is informed, believes, and based thereon alleges that TOYOTA

 17   has not and did not comply with the dealer notification provisions of the California Secret Warranty Law

 IS   nor has TOYOTA sent a copy of a Service Bulletin to the New Motor Vehicle Board.

 19        51. At all times relevant, Plaintiff is informed, believes, and based thereon alleges that TOYOTA

 20   has refused to provide the free repair, replacement, or retrofitting of the brake system to owners of the

 21   affected vehicles and has refused to reimburse consumers who have paid to have the brake systems
      repaired in their vehicles except for some who complained enough.

           52. Knowing the truth and motivated by profit and market share, Defendants have knowingly and

24    willfully engaged in the acts and/or omissions to mislead and/or deceive Plaintiff and others similarly

25    situated.

26         53. The defective brake system on the Subject Vehicles has resulted and will continue to result in

27    significant loss and damage to the class members, including but not limited to, diminished use and
 25   reduced fair market value.

                                                      -15-
                                      CLASS ACTION COMPLAINT FOR DAMAGES
                                                      19
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 20 of 39 Page ID #:31




             54. Despite the Defendants' express representations that the Subject Vehicles would likely retain

        their value at a rate higher than competing vehicles and that the vehicles are "reliable," this has simply

   3    not occurred. As a result of the problems with the Subject Vehicles as described herein and the extremely

   4    loud brake squeal noise, the value of the Subject Vehicles has been significantly diminished. On the

   5    Internet and in other media outlets, hundreds of people have reported the problems they have experienced

  6     with their vehicles. There is little doubt that these reports have serious diminished the resale value of the

   7    Subject Vehicles. Given the high value and the luxury status of Subject Vehicles, the fact that these

   8    vehicles produce extremely loud squealing noise when braking under normal conditions diminishes the

   9    value of the vehicles more than the same problems would in lower valued vehicles.

10           55. This action seeks financial compensation for members of the Class in connection with their

11      purchase of the Subject Vehicles. Plaintiff does not seek: (i) damages for personal, bodily, or emotional

 12     injury or wrongful death; or (ii) damages for becoming subject to liability or legal proceedings by others.

 13

14                                  TOLLING OF STATUTE OF LIMITATIONS

15           56. Any applicable statutes of limitation have been equitably tolled by TOYOTA's affirmative

16      acts of fraudulent concealment, suppression, and denial of the true facts regarding the existence of the

17      inherent defects alleged herein. Such acts of fraudulent concealment include but are not limited to

18      intentionally covering up and refusing to publicly disclose critical internal memoranda, design plans,

19      studies, Notices of Action, Problem Detail Reports and other reports of failure and injury, as well as

20      affirmative misrepresentations made to NHTSA and people who called or otherwise contacted TOYOTA

21      attempting to identify and resolve this defect. Through such acts of fraudulent concealment, TOYOTA
 le)    was able to actively conceal from the public for years the truth about the defective design and manufacture

 2r;    of the brake system on the Subject Vehicles, thereby tolling the running of any applicable statute of

24      limitations.
 7, 5        57. Defendants are estopped from relying on any statutes of limitation because of their

        misrepresentation and fraudulent concealment of the true facts, as described herein, concerning the brake
          stem on the Subject Vehicles. Defendants were, at all times aware of the true nature of the defects as

        described herein but at all times continued to manufacture and market the Subject Vehicles despite this

                                                       -16-
                                       CLASS ACTION COMPLAINT FOR DAMAGES
                                                        20
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 21 of 39 Page ID #:32




      knowledge.



                                           FIRST CAUSE OF ACTION

  4                                       BREACH OF EXPRESS WARRANTY

  5                                            (Against All Defendants)

  6        58. Plaintiff re-alleges and incorporates by reference as fully set forth herein al l paragraphs of

  7   Class Action Complaint for Damages.

  8        59. TOYOTA's written representations in the warranty manual(s), sales brochures, pamphlets, and

  9   other writings disseminated by TOYOTA in the promotion, marketing, and sales of the Subject Vehicles

10    constitute an express warranty and/or warranties to Plaintiff and the Class Members.

11         60. TOYOTA's advertising campaign(s) which focused on its vehicles being free of defects,

 12   including but not limited to the Subject Vehicles being "all-in engineering, all-out performance", "crafted

 13   to the extreme", "experience amazing", "the pursuit of perfection", "luxuriously crafted, consciously

 14   engineered", and "effortless luxury" as printed in their product brochures, pamphlets, and media and

15    which focused on excellence, reliability and safety of these vehicles. As such, TOYOTA expressly

16    warranted that such vehicles were free from inherent and latent defects.

17         61. For each of the Subject Vehicles at issue, TOYOTA issued a standardized express written

 18   warranty which covers the base vehicle, including without limitation, the brake system, and warranted

19    that the vehicles were free of defects. Applying any TOYOTA warranty limitation period to avoid the

20    need to repair this particular defect would be unconscionable in that, inter alia, the vehicles at issue

21    contain an inherent latent defect which could arise at any time, the defect was already present at the time

22    of delivery, TOYOTA was either aware of or consciously and/or recklessly disregarded this defect which

23    could not be discovered by Plaintiff and members of the class at the time of such purchase or lease, and

24    purchasers or lessees lacked any meaningful choice with respect to the warranty terms.

25         62. Defendants have and continue to breach said express warranties in the following ways, among

26    others as follows:

27            (1)    At the time of manufacture and lease/sale of the Subject Vehicles, there existed an

28                   inherent, latent defect in the brake system;

                                                     -17-
                                     CLASS ACTION COMPLAINT FOR DAMAGES
                                                  21
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 22 of 39 Page ID #:33




             (2)    The brake system on the Subject Vehicles was not free from defects;

             (3)    The brake system on the Subject Vehicles was and is at all relevant times defective;

             (4)    TOYOTA has refused to take responsibility for the defective brake system on the Subject

  4                 Vehicles, denying all liability or even the existence of the defect as described herein;

              (5)   TOYOTA has engaged in a nationwide conspiracy to cover up the Subject Vehicles' brake

  6                 noise defect by systematically refusing to document visits by Plaintiff and other Class

  7                 Members to authorized dealerships with the subject complaint;

  8          (6)    By failing to document these visits and provide repair orders TOYOTA has systematically

  9                 deprived Plaintiff and other Class Members of their lemon law rights by distorting the

 10                 Subject Vehicles' repair histories; and

 11          (7)    The brake systems were defective at the time of manufacture, sale, and delivery to Plaintiff

 12                 and others similarly situated and they were making an unreasonably loud squealing noise

 13                 which forced Plaintiff and others similarly situated to have the brakes of the vehicles

                    repaired or replaced much more frequently than conventional counterparts.

 15       63. Plaintiff HAGOPIAN provided initial notice to Defendant TOYOTA of their breach as alleged

 16   herein on February 28, 2020.

 17       64. To date Defendants have failed to remedy their breach pursuant to Plaintiff's notices.

 IS       65. As a result of Defendants' breach of express warranties as set forth above, Plaintiff and others

 19   similarly situated have suffered and will continue to suffer damages in an amount to be determined at

 20

 21
                                        SECOND CAUSE OF ACTION

 23                                      BREACH OF IMPLIED WARRANTY

 24                                          (Against All Defendants)
 25       66. Plaintiff re-alleges and incorporates by reference as fully set forth herein all paragraphs of

26    Class Action Complaint for Damages.

          67. The Subject Vehicles are manufactured goods and at all times relevant, Defendant

 28   manufactured, sold, and placed these products into the stream of commerce.

                                                         -18-
                                     CLASS ACTION COMPLAINT FOR       DAMAGES
                                                    22
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 23 of 39 Page ID #:34




  1        68. The transactions by which the Class members purchased the Subject Vehicles were

      transactions for the sale of goods and at all times relevant, Defendant TOYOTA was in the business of

  3   manufacturing, selling, and/or distributing these goods for sale throughout the United States, including

  4   California.

           69. The presence of the defect in the Subject Vehicles purchased by the Class substantially impairs

  6   the use and value of those goods. Moreover, the defects in the Subject Vehicles render them non-

      conforming goods and/or were not the same quality as those generally accepted in the trade, were not fit

  8   for the ordinary purposes for which the goods are used, were of poor or below average quality within the

  9   description, and/or did not conform to the affirmations of fact made by TOYOTA in its labeling, product

10    inserts, and/or warranty materials it provided along with the lease/sale of the Subject Vehicles,

 11        70. The defective brake system makes the Subject Vehicles unfit for the ordinary purposes for

 12   which the Vehicles are to be used and at all times relevant, TOYOTA has failed and refused to repair the

      defects in the brake system of the Subject Vehicles and has failed and refused to do so at no charge to the

 14   class members.

 15        71. Upon discovering the latent defects in the defective brake system on the Subject Vehicles,

 16   Plaintiff took reasonable steps to notify Defendant TOYOTA within a reasonable time that the product

 17   did not have the expected quality and contained the defects as alleged herein.

 18        72. As a direct and proximate result of the foregoing, Plaintiff and all the other Class Members

 19   sustained significant loss and damage, including but not limited to, a reduction in fair market value and

20    they did not receive the benefit of their bargain.

 21

                                            THIRD CAUSE OF ACTION
                    BREACH OF WARRANTY UNDER THE SONG-BEVERLY CONSUMER WARRANTY ACT

 24                                           CIVIL CODE § 1790 ET SEQ.
                                                (Against All Defendants)

26         73. Plaintiff re-alleges and incorporates by reference as fully set forth herein all paragraphs of

27    Class Action Complaint for Damages.

28         74. Plaintiff and other Class Members who purchased the Subject Vehicles in California are

                                                           -19-
                                      CLASS ACTION COMPLAINT FOR DAMAGES
                                                   23
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 24 of 39 Page ID #:35




       "buyers" within the meaning of California Civil Code § 1791(b).

             75. The Subject Vehicles are "consumer goods" within the meaning of California Civil Code §

       1 79 I (a).

  4          76. Defendant is a "manufacturer" within the meaning of California Civil Code § 179.

  5          77. Defendant made express warranties to Plaintiff and the other Class Members within the

  6    meaning of California Civil Code §§ 1791 .2 and 1793.2, as described above.

  7          78. Defendant breached these warranties by selling the Subject Vehicles with the defect, requiring

  8    repair or replacement within the applicable warranty period, and refusing to honor the warranties by

  9    providing free repairs or replacements during the applicable warranty periods.

10           79. As alleged above, the terms of Defendant's express warranty are both substantively and

11     procedurally unconscionable. Defendant's attempt to disclaim or limit these express warranties is

12     unconscionable and unenforceable because it knowingly sold a defective product without informing

13     consumers about the defect.

14           80. The time limits contained in Defendant's warranty period are also unconscionable and

15     inadequate to protect Plaintiff and the Class Members. Among other things, Plaintiff and Class Members

 16    had no meaningful choice in determining these time limitations, the terms of which unreasonably favor

 17    Defendant. A gross disparity of bargaining power existed between Defendant and Plaintiff and Class

 18    Members and Defendant knew or should have known that the Subject Vehicles brake systems were

 19    defective at the time if sale and would fail well before the end of their useful lives.

20           81. Defendant did not promptly replace or repair the defective brake systems.

 21          82. As a direct and proximate result of Defendant's breach of its express warranties, Plaintiff and

       the other Class Members received goods whose condition substantially impairs their value to Plaintiff

21     and the other Class Members. Plaintiff and the other Class Members have been damaged as a result of.

24     Inter• alia, the diminished value of Defendant's products, the products' malfunctioning, and actual and

       potential increased maintenance and repair costs.

 )()         83. Pursuant to California Civil Code §§ 1793.2 and 1794, Plaintiff and the other Class Members

27     are entitled to damages and other legal and equitable relief including, at their election, the purchase price

28     of the Subject Vehicles brake systems, or the overpayment or diminution in value of these devices.

                                                       -20-
                                       CLASS ACTION COMPLAINT FOR DAMAGES
                                                       24
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 25 of 39 Page ID #:36




           84. Pursuant to California Civil Code § 1794, Plaintiffs and the other Class Members are entitled

  2   to costs and attorney fees.

                                           FOURTH CAUSE OF ACTION
                       BREACH OF WARRANTY UNDER THE MAGNUSON-MOSS WARRANTY ACT

  5                                            15 U.S.C. § 2301 ET SEQ.

  6                                            (Against All Defendants)

  7        85. Plaintiff re-alleges and incorporates by reference as fully set forth herein all paragraphs of

  8   Class Action Complaint for Damages.

  9        86. The Subject Vehicles and respective brake systems on the Subject Vehicles are "consumer

 la   products" as that term is defined by 15 U.S.C. § 2301(1).

 11        87. Plaintiff and Class Members are "consumers" as that term is defined by 15 U.S.C. § 2301(3).

 12        88. TOYOTA is a "supplier" as that term is defined by 15 U.S.C. § 2301(4).

 13        89. TOYOTA is a "warrantor" as that term is defined by 15 U.S.C. § 2301(5).

14         90. TOYOTA provided Plaintiff and Class Members with "written warranties" as that term is

15    defined by 15 U.S.C. § 2301(6).

16         91. Section 15 U.S.C. § 2310(d)(1) provides that a consumer who is damaged by the failure of a

17    supplier, warrantor, or service contractor to comply with any obligation under this title, or a written

18    warranty, implied warranty, or service contract, may bring suit for damages and other legal and equitable

 19   relief in any court of competent jurisdiction in any state or in an appropriate District Court of the United

20    States.

21         92. TOYOTA's written representations in the warranty manual(s), sales brochures, pamphlets, and

22    other writings disseminated by TOYOTA in the advertising, promotion, marketing, and sales of the

23    Subject Vehicles constitute an express warranty and/or warranties to Plaintiff and others similarly

24    situated.

25         93. TOYOTA's statements made in its advertising, promotion, marketing, and sales of the Subject

26    Vehicles, and by operation of law, constitute implied warranties that these vehicles are merchantable and

27    fit for their intended purpose.

28         94. TOYOTA breached these written and implied warranties as described in the allegations herein,

                                                        -21-
                                        CLASS ACTION COMPLAINT FOR DAMAGES
                                                     25
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 26 of 39 Page ID #:37




      with respect to the brake systems of the Class Vehicles by failing to acknowledge that Plaintiff's brakes

  2   and those of other Class Members were defective and eligible to be replaced under TOYOTA's written

  3   and implied warranties.

  4        95. By TOYOTA's conduct described and alleged herein, including TOYOTA's knowledge that

  5   the brake systems of the Class Vehicles were abnormally degraded or otherwise defective, TOYOTA has

  6   failed to comply with its obligations under their written and implied promises, warranties, and

  7   representations.

  8        96. In its capacity as a warrantor, and by the conduct and allegations described herein, any attempts

  9   by TOYOTA to limit the implied warranties in a manner that would exclude coverage is unconscionable

 10   and any such effort to disclaim, or otherwise limit liability is null and void.

 11        97. The transactions by which Plaintiff and the Class Members purchased the Subject Vehicles

 12   were transactions for the sale of goods and at all times relevant, TOYOTA was the seller of the Subject

13    Vehicles and placed these products into the stream of commerce throughout the United States, including

 14   California. At all times relevant, TOYOTA maintained showroom stores and vehicle service centers in

 15   California.

16         98. The Class Vehicles came with an implied warranty that any parts thereof were merchantable,

17    were the same quality as those generally accepted in the trade, were not of poor or below average quality

18    within the description, and/or conformed to the affirmations of fact made by TOYOTA.

19         99. The Class Vehicles, however, were non-conforming goods and/or goods that were not the same

20    quality as those generally accepted in the trade, were of poor or below average quality within the

21    description, and/or did not conform to affirmations of fact disseminated by TOYOTA.

22        100. As a direct and proximate result of the foregoing, Plaintiff and the Class Members sustained

23    loss and damage and did not receive the benefit of their bargain.

2-1       101. All jurisdictional prerequisites have been satisfied.
25       102. Plaintiff and the other Class members are in privity with TOYOTA in that they purchased the

26    Class Vehicles from TOYOTA or its agents.

27        103. As a result of TOYOTA'S breach of warranties, Plaintiff and the other Class Members are

2S    entitled to revoke their acceptance of the Class Vehicles, obtain damages and equitable relief, and obtain

                                                      -22-
                                      CLASS ACTION COMPLAINT FOR DAMAGES
                                                      26
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 27 of 39 Page ID #:38




      costs pursuant to 15 U.S.C. § 2310.



                                            FIFTH CAUSE OF ACTION

  4                       VIOLATION OF BUSINESS AND PROFESSIONS CODE § 17200 ET SEQ.

                                                (Against All Defendants)

  6       104. Plaintiff re-alleges and incorporates by reference as fully set forth herein all paragraphs of

  7   Class Action Complaint for Damages.

          105. Plaintiff has standing to bring this claim because P I ai miff has lost money or property as a result

  9   of the misconduct alleged.

10        106. Plaintiff brings this claim on behalf of himself and others similarly situated in his

11    representative capacity as a private attorney general against all Defendants for their unlawful, unfair.

 12   fraudulent, untrue, and/or deceptive business acts and/or practices pursuant to California Business and

 13   Professions Code § 17200 et seq. ("UCL"), which prohibits all unlawful, unfair, and/or fraudulent

 14   business acts and/or practices.

15       107. Plaintiff asserts these claims as they are representative of an aggrieved group and as a private

16    attorney general on behalf of the general public and other persons who have expended funds that the

17    Defendants should be required to pay or reimburse under the restitutionary remedy provided by California

 is   Business and Professions Code § 17200 et seq.

 19      108. The acts, omissions, misrepresentations, practices, and non-disclosures of Defendants as

2(1   alleged herein constitute unlawful, unfair, and/or fraudulent business acts and/or practices within the

21    meaning of California Business and Professions Code § 17200 et seq.

         109. The acts, omissions, misrepresentations, practices, non-disclosures, and/or concealments of
27    material facts, and/or deception alleged in the preceding paragraphs occurred in connection with

24    Defendants' conduct of trade and commerce in California.
25       110. As a direct and proximate result of the aforementioned acts, Defendants, and each of them.

26    received monies expended by Plaintiff and others similarly situated who leased/purchased the Subject

27    Vehicles.

28       111. Defendants aggressively promoted and advertised their Subject Vehicles in an unlawful, unfair.

                                                        -23-
                                        CLASS ACTION COMPLAINT FOR DAMAGES
                                                     27
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 28 of 39 Page ID #:39




  1    fraudulent, untrue, and/or deceptive manner that is and was likely to deceive the public.

  2        112. Defendants falsely advised Class Members that the non-conformities exhibited by the Subject

  3    Vehicles as outlined herein were in fact normal and did not constitute a defect.

  4        113. Defendants actively engaged in a custom and practice of encouraging failure to and/or failing

  5    to document complaints by Class Members regarding the non-conformities exhibited by the Subject

  6    Vehicles as outlined herein.

  7        1 14. Defendants' misconduct as alleged in this action constitutes negligence and other tortious

  8    conduct and this misconduct gave these Defendants an unfair competitive advantage over their

  9    competitors.

 10        115. Defendants' conduct constitutes unfair acts or practices conducted in the course of Defendants'

 11    respective businesses, and thereby constitutes violations of California Business and Professions Code §

12     17200 et seq. Defendants' conduct and intent to widely market the Subject Vehicles to California

13     consumers involved false and misleading advertising. Such conduct offends the established public policy

14     of the State of California and is immoral, unethical, oppressive, unscrupulous, and substantially injurious.

15         116. Pursuant to California Business and Professions Code § 17203 of the UCL, Plaintiff seeks an

16     order of this Court enjoining TOYOTA from continuing to engage in unlawful, unfair, or fraudulent

 17    business practices, and any other act prohibited by the UCL. Plaintiff also seeks an order requiring

 18    TOYOTA to comply with the terms of the California Secret Warranty Law by (a) notifying Class

 19    Members of the defective brake warranty; (b) providing free installation of the re-designed brakes to

20     Class Members, (c) notifying dealers of the facts underlying the brake problem and the terms of the brake

 21    warranty, (d) notifying the New Motor Vehicle Board of the brake warranty; and (e) identifying and

22     reimbursing Class Members who have paid for brake repairs (including the re-designed brake) to be

23     installed. Plaintiff also seek an order (i) enjoining TOYOTA from failing and refusing to make full

 2.4   restitution of all moneys wrongfully obtained; and (ii) disgorging all ill-gotten revenues and/or profits
       earned or retained as a result of TOYOTA's violations of the California Secret Warranty Law.

 26        1 17. As set forth above, TOYOTA has violated the California Secret Warranty Law. As a direct

 27    and proximate result of TOYOTA's conduct, TOYOTA obtained secret profits by which it became
 )8    unjustly enriched at Plaintiff and the Class members' expense.

                                                      -24-
                                      CLASS ACTION COMPLAINT FOR DAMAGES
                                                      28
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 29 of 39 Page ID #:40




         118. Accordingly, Plaintiff seeks an order establishing TOYOTA as a constructive trustee of the

     secret profits that served to unjustly enrich TOYOTA, together with interest during the period in which

     TOYOTA has retained such funds and requiring TOYOTA to disgorge those funds in a manner to be

     determined by the Court.

         119. In addition to the relief requested in the Prayer below, Plaintiff seeks the imposition of a

     constructive trust over, and restitution of, the monies collected and profits realized by Defendants.

 7       120. Defendants' conduct, as fully described herein, constitutes acts of untrue and misleading

 8   advertising and are, by definition, violations of California Business and Professions Code § 17200 et seq.

 9       121 . The unlawful, unfair, deceptive and/or fraudulent business practices and/or false and

10   misleading advertising of Defendants, as fully described herein. present a continuing threat to members

11   of the public to be injured by the Subject Vehicles equipped with the defective brake systems as alleged

12   herein.

13      122. In accordance with the provisions of Business & Professions Code §§ 17200 and 17203,

14   Plaintiff seeks an order of this Court requiring Defendant to immediately cease such acts of unfair

15   competition and enjoining Defendant from continuing to conduct business via the unlawful, unfair, and

16   fraudulent business acts and practices set forth in this Complaint and from failing to disclose the true

17   nature of their misrepresentations and ordering Defendant to engage in a corrective notice and advertising

18   campaign.

19

20                                        SIXTH CAUSE OF ACTION

21                       VIOLATION OF BUSINESS AND PROFESSIONS CODE § 17500 ET SEQ.

22                                            (Against All Defendants)

23      123. Plaintiff re-alleges and incorporates by reference as fully set forth herein all paragraphs of

24   Plaintiffs Complaint for Damages.

25      124. Plaintiff has standing to bring this claim because Plaintiff has lost money or property as a result

26   of the misconduct alleged.

27      125. Business & Professions Code § 17500 prohibits unfair, deceptive, untrue, and misleading

28   advertising in connection with the disposal of personal property (among other things), including, but not

                                                    -25-
                                    CLASS ACTION COMPLAINT FOR DAMAGES
                                                    29
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 30 of 39 Page ID #:41




      limited to, false statements as to worth, value, and former price.

          126. During the sales process, Defendants intentionally made the previously alleged

      misrepresentations and promises by deceivingly assuring Plaintiff that the Subject Vehicle was in

  4   excellent mechanical condition, which included brakes that do not make a loud squealing noise.

  5       127. Thereafter, Plaintiff discovered that the Subject Vehicle made a loud squealing noise when

  6   applying the brakes.

  7       128. In making such misrepresentations and wrongful acts, Defendants committed acts of untrue

  8   and misleading advertising as defined in Business & Professions Code § 17500, by advertising the Subject

  9   Vehicle as not having any defects without any intent of selling it as described.

 10       129. The acts of untrue and misleading advertising by Defendants described above present a

 11   continuing threat to members of the general public in that Defendants persist and continue to engage in

 12   these practices with respect to the general public and will not cease doing so unless and until an injunction

 13   is issued by this Court.

 14       130. As a direct and proximate result of Defendant's conduct, Plaintiff has suffered damages for

 15   which relief is sought herein. As such, Plaintiff requests that this Court order Defendant to restore this

 16   money to Plaintiff and all Class Members and to enjoin Defendant from continuing these unfair practices

 17   in violation of the UCL in the future. Otherwise, Plaintiff and the broader general public will hc

 18   irreparably harmed and/or denied an effective and complete remedy.

 19

20                                        SEVENTH CAUSE OF ACTION

21                        VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT

22                                            CIVIL CODE § 1750 ET SEQ.

23                                             (Against All Defendants)

24        131. Plaintiff re-alleges and incorporates by reference as fully set forth herein all paragraphs of

25    Plaintiff's Complaint for Damages.

26        132. The Subject Vehicles are "goods" within the meaning of Civil Code § 1761(a).

27       133. Defendants are "persons" as defined by Civil Code § 1761(c).

28        134. Plaintiff and each member of the Class are "consumers" within the meaning of Civil Code §

                                                          -26-
                                     CLASS ACTION COMPLAINT FOR DAMAGES
                                                  30
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 31 of 39 Page ID #:42




  1   1761(d).

          135. The Consumer Legal Remedies Act ("CLRA"), California Civil Code § 1750 et seq. applies

  3   to Defendants' actions and conduct described herein because it extends to transactions that are intended

  4   to result, or which have resulted, in the sale or lease of goods or services to consumers.

  5       136. Defendants have violated the CLRA in at least the following respects:

  6           (1) In violation of Civil Code § 1770(a)(5), Defendants have represented that the Subject

  7   Vehicles have characteristics and benefits that they do not have;

  8           (2) In violation of Civil Code § 1770(a)(7), Defendants have represented that the Subject

  9   Vehicles are of a particular standard, quality, or grade when they are not;

 10           (3) In violation of Civil Code § 1770(a)(9), Defendants have advertised the Subject Vehicles

 11   without an intent to sell them as advertised;

 12           (4) In violation of Civil Code § 1770(a)(14), Defendants have misrepresented that a transaction

 13   confers or involves legal rights, obligations, or remedies of Plaintiff and other members of the Class

 14   concerning the Subject Vehicles when they were not;

 15           (5) In violation of Civil Code § 1770(a)(18), Defendants have represented that the Subject

 16   Vehicles were supplied in accordance with previous representations when they were not; and

 17           (6) In violation of Civil Code § 1770(a)(19), Defendants unlawfully inserted an unconscionable

 18   provision in the contract to purchase or lease the Subject Vehicles here at issue by inserting into such

 19   contracts provisions where the consumers purport to waive a right or benefit provided by law to obtain a

20    repair or a retrofit of an inherent defect without a clear statement and consent to such provisions.

21        137. Defendants' deceptive acts alleged herein occurred in the course of selling a consumer product

22    and Defendants have done so continuously through the filing of this Complaint.

23        138. As a direct and proximate result of Defendants violation of Civil Code § 1770 et seq., Plaintiff

24    and other Class members have suffered irreparable harm and monetary damages entitling them to both

25    injunctive relief and restitution. Plaintiff, on behalf of himself and on behalf of the Class, seek damages

26    and all other relief allowable under the CLRA.

27        139. Defendants' wrongful conduct, as set forth above, was willful, oppressive, and malicious.

28    Accordingly, Plaintiff, and others similarly situated, seek punitive damages against Defendants in an

                                                     -27-
                                     CLASS ACTION COMPLAINT FOR DAMAGES
                                                      31
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 32 of 39 Page ID #:43




  1   amount to deter Defendants from similar conduct in the future.

  2       140. Pursuant to Civil Code § 1782, Plaintiff provided notice to Defendants at least thirty days prior

  3   to filing this action for damages.

  4       141. Defendants failed to make the showing required by Civil Code § 1782(c).

  5       142. As a result, Plaintiff seeks actual and punitive damages for violation of the CLRA. In addition,

  6   pursuant to Civil Code § 1782(a)(2), Plaintiff and members of the class are entitled to an order enjoining

  7   the above-described wrongful acts and practices of Defendants, providing restitution to Plaintiff and the

  8   Class, ordering payment of costs and attorneys' fees, and any other relief deemed appropriate and proper

  9   by the Court under Civil Code § 1780.

 10

 11                                        EIGHTH CAUSE OF ACTION

                                                      NUISANCE

 13                                           (Against All Defendants)

 14       143. Plaintiff re-alleges and incorporates by reference as fully set forth herein all paragraphs of

 15   Class Action Complaint for Damages.

 16       144. TOYOTA permitted and continues to permit, by distributing and selling the Subject Brakes, a

 17   condition to exist that is offensive to the senses of the owners and an obstruction to the free use of the

 18   Class Vehicles, so as to interfere with the comfortable use and enjoyment of their vehicles.

19        145. The condition interfered and continues to interfere with the use and enjoyment of Class

20    Vehicles by their owners and lessors.

21        146. Plaintiff and the remaining Class Members did not consent to the defective condition for the

22    simple reason that the defective condition was never properly disclosed to them.

23        147. An ordinary person would he reasonably annoyed or disturbed by the loud squealing noise

24    coming from the brakes when driving at slow speeds.

25        148. All Class Members that have the Subject Brakes have been harmed, regardless of whether they

26    complained of the noise to TOYOTA authorized dealerships or not.

27        149. The seriousness of the harm outweighs the public benefit of TOYOTA'S conduct since a

28    simple disclosure of the loud squealing noise by TOYOTA would have been enough to allow prospective

                                                      -28-
                                      CLASS ACTION COMPLAINT FOR DAMAGES
                                                    32
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 33 of 39 Page ID #:44




  1   buyers and lessors to make an informed decision.

  2

  3                                                     PRAYER

  4          WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, also on behalf of

  5   the general public, prays for judgment against Defendants as follows:

  6              A. An order certifying this case as a Class Action and appointing Plaintiff and their

  7                   counsel to represent the Class;

  8              B. For actual damages;

  9              C. For statutory damages in an amount of not less than $1,000 per Plaintiff or Class

 10                   member pursuant to California Civil Code § 1780(a)(1);

 11              D. For restitution as appropriate;

 12              E. For statutory pre-judgment interest;

 13              F. For punitive damages in an amount to deter Defendants from similar conduct in the

 14                   future;

 15              G. For any additional and consequential damages suffered by Plaintiff and the Class;

 16              H. For reasonable attorneys' fees and the costs of this action;

 17              I.   For declaratory and/or equitable relief under the causes of action stated herein; and

 18              J. For such other relief as this Court may deem just and proper.

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                                     CLASS ACTION COMPLAINT FOR DAMAGES
                                                      33
 Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 34 of 39 Page ID #:45




 1
                                         DEMAND FOR JURY TRIAL
 2

 3          Plaintiff demands a trial by jury for himself and the Class on all claims so triable.

 4   Dated this 27th day of January 2021.

 5

 6
                                            THE MARGARIAN LAW FIRM
                                            801 North Brand Boulevard, Suite 210
 7                                          Glendale, CA 91203

 8
                                            By            2s7:-- -c-,_—_.J
 9
                                            Hovanes Margarian, Esq.
10
                                            Attorney for Plaintiff
                                            and all others Similarly Situated
11

12

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                                                 34
                                    CLASS ACTION COMPLAINT FOR DAMAGES
 Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 35 of 39 Page ID #:46




 ►       DECLARATION OF HOVANES MARGARIAN PURSUANT TO CIVIL CODE ti 1780(d)

     I. HOVANES MARGARIAN, declare as follows:

           1.        I am an attorney at law duly licensed to practice before all courts of the State of California

 4   and am the principal attorney at the Margarian Law Firm, one of the counsels of record for Plaintiff 1

 5   have personal knowledge of the matters set forth below and if called upon as a witness could and would

 6   competently testify thereto.

 7         2.        I am informed and believe that venue is proper in this court pursuant to Civil Code §

 8   1780(d) based on the following facts:

 9              a.       Defendant has performed transactions at issue in this action, or has obtained financial

10                        benefit from such transactions, at all times relevant to this action, in Los Angeles,

11                        California; and

12              b.        At all relevant times herein, Plaintiff HAGOPIAN resided in Los Angeles County.

13          WHEREFORE, I declare under the penalty of perjury under the laws of the State of California

14   that the foregoing is true and correct, and that this Declaration was executed this 27th day of January

►S   2021 at Glendale, California.

16
                                               THE MARGARIAN LAW FIRM
17                                             801 North Brand Boulevard, Suite 210
18
                                               Glendale, CA 91203

19
                                               By
20                                             Hovanes Margarian, Esq.
                                               Attorney for Plaintiff
21                                             and all others Similarly Situated


23

24

25

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                                                     35
                                        CLASS ACTION COMPLAINT FOR DAMAGES
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 36 of 39 Page ID #:47




                         Exhibit B




                                       36
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 37 of 39 Page ID #:48

                                                                                                                                                            POS-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stele Bar number, end ecklress)r
                                                                                                                                FOR COURT USE ONLY
THE MARGARIAN LAW FIRM
HOVANES MRGARIAN, ESQ. SBN. 246359
801 N, BRAND AVE., SUITE 210
GLENDALE, CA 91203                                                                                                                 14 i !AA/
                                                                                                                        iperior Court of California
         TELEPHONE NO.: 818-553-1000        FAX NO. (oplionso: 818-553-1003                                               , i-t, ,n2.7 nfLos Angeles
C-mAIL ADDRESS Optional); HOVANES@MARGARIANLAW,COM
   ATTORNEY MR (Name): HOVSEP HAGOPIAN                                                                                         FEB 19 2021
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                                 — , I-At:W(1We Officer/Mr'
 STREET AOORES8; 111 NORTH HILL STREET
MAILING AOPRB68; 111 NORTH HILL STREET                                                                            '"         it4/€5                      ,Derw'
CITY AND ZiP CODE; LOS ANGELES, 90012
    eaoica NAME; STANLEY MOSK COURTHOUSE
   toLgivirriP`rrrioNER! FlOVSEP HAGOPIAN, ET AL.                                                           CASE NUMBER:
                                                                                                            21STCV03559
DEFENDANT/RESPONDENT: TOYOTA MOTOR NORTH AMERICA, INC.
                                                                                                            Ref. No. or File No.:
                            PROOF OF SERVICE OF SUMMONS

                                        (Separate proof of service is required for each party served)
1. At the time of service Iwas at least 15 years of age and not a party to this action.
2. I served copies of:
   a. x summons
    b. I::=1 complaint
    c. I  Alternative Dispute Resolution (ADR) package
    d. TT Civil Case Cover Sheet (served in complex cases only)
    e.    cross-complaint
    f. II         other (specify documents): Notice of Case Assignment Unlimited Civil Case, Plaintiffs Statement of Damages
3. a. Party served (specify name ofparty as shown on documents served):
      TOYOTA MOTOR NORTH AMERICA, INC., a California Corporation
    b. =I         Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                  under item 5b on whom substituted service was made) (specify name and relationship to the party named in item .2a):
                  Carlos Paz
4. Address where the party was served:
   818 W. 7th Street, Suite 930 Los Angeles, CA 90017
5, I served the party (check proper box)
    a.       x    by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                  receive service of process for the party (1) on (date): February 11, 2021           (2) at (time): 10:40 AM

    b. I          by substituted service. on (date):                          at (time):            I left the documents listed in item 2 with or
                  in the presence of (name and title or relationship to person indicated in item 3p

                  (1)          (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                               of the person to be served. I informed him or her of the general nature of the papers.
                  (2) 1-   1 (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                              place of abode of the party. I informed him or her of the general nature of the papers.
                  (3)         (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                              address of the person to be served, other than a United States Postal Service post office box. I informed
                              him or her of the general nature of the papers.
                  (4)1       I I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be Served
                               at the place where the copies were left (Code Civ, Proc,, § 415,20). I mailed the documents on
                               (date):                        from (city):                            or1- 7 a declaration of mailing is attached.
                  (5) EjI attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                                Pape I of 2
Form Adopted for Mandatory Uee
                                                        PROOF OF SERVICE OF SUMMONS                                                        Code or Civil Procedure, § 417.10
  Judicial Council of California
POS-010 [Rev. January 1, 2007]


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                                                                   1   A.   .0,   •11/1,11,   0   ,1   +n
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 38 of 39 Page ID #:49

                                                                                                                                   POS-010
      PLAINTIFF/PETITIONER:             HOVSEP HAGOPIAN, ET AL,                                     CASE NUMBER:
                                                                                                    21STCV03559
 DEFENDANT/RESPONDENT: TOYOTA MOTOR NORTH AMERICA, INC.


5. a.             by mall and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                  address shown in item 4, by first-class mail, postage prepaid,
                  (1) on (date):                                                (2) from (city):
                  (3) 1- 7 with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                  (4)           to an address outside California with return receipt requested. (Code Giv, Proc., § 415.40.)

     d.   r- 7    by other means (specify means of service and authorizing code section):




          F--7    Additional page describing service is attached.

6. The "Notice to the Person Served" (on the summons) was completed as follows:
     a.           as an individual defendant.
     b. n   as the person sued under the fictitious name of (specify):
     c, 173 as occupant,
     d,     x                          TOYOTA MOTOR NORTH AMERICA, INC., a California Corporation
                 On behalf of (specify):
                 under the following Code of Civil Procedure section:
                          =I      416,10 (corporation)                          n  415.95 (business organization, form unknown)
                                  415.20 (defunct corporation)                  FT 416,60 (minor)
                          FT      416.30 (joint stock company/association)           416,70 (ward or conservatee)
                                  415.40 (association or partnership)                416,90 (authorized person)
                          r --1 416.50 (public entity)                          n    415.46 (occupant)
                                                                                     other:
7. Person who served papers
     a. Name: Gagik Mergarian
     b. Address: 801 N. Brand Blvd., Suite 210 Glendale, CA 91203
     c. Telephone number: 818-553-1000
     d. The fee for service was: $ 0
    e. I am:
          (1) x I not a registered California process server.
          (2) 1- 1 exempt from registration under Business and Professions Code section 22350(b),
          (3)           a registered California process server:
                                  owner     1= employee            ED independent contractor.
                        (ii) Registration No.:
                        (iii) County:

6, n        I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
            or
            I am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date: February 11, 2021

Gagik Margarian
        NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                                        (SIG   URE)



POS410 (Rev. January 1, 2007)                          PROOF OF SERVICE OF SUMMONS                                                  Page 2 of 2




                                                                         38
                                                               1     .   Ant,
Case 2:21-cv-02248-ODW-JDE Document 1-1 Filed 03/12/21 Page 39 of 39 Page ID #:50




  1                            CERTIFICATE OF SERVICE
  2        I hereby certify that on March 12, 2021, I caused a copy of DECLARATION
  3 OF ELIZABETH A. SPERLING IN SUPPORT OF NOTICE OF REMOVAL to
  4 be served upon counsel in the manner described below.
  5       Participants in the case who are registered CM/ECF users will be served by the
  6 Central District CM/ECF system. In addition, the following counsel will be served in
  7 the manner described below:
  8        Via U.S. First Class Mail:

  9   Hovanes Margarian                         Counsel for Plaintiff
      Armen Margarian                           HOVSEP HAGOPIAN
 10   Shushanik Margarian
      THE MARGARIAN LAW FIRM                    Telephone: (818) 553-1000
 11   801 North Brand Boulevard                 Facsimile: (818) 553-1005
 12   Suite 210
      Glendale, CA 91203                        E-Mail: hovanes@margarianlaw.com
 13                                             E-Mail: armen@margarianlaw.com
                                                E-Mail: shushanik@margarianlaw.com
 14
 15
 16                                /s/ Elizabeth A. Sperling
                                     Elizabeth A. Sperling
 17
                               Attorneys for Defendant
 18                     TOYOTA MOTOR NORTH AMERICA, INC
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             DECLARATION OF ELIZABETH A. SPERLING IN SUPPORT OF NOTICE OF REMOVAL
